

People v Moore (2021 NY Slip Op 01336)





People v Moore


2021 NY Slip Op 01336


Decided on March 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 04, 2021

Before: Renwick, J.P., Kennedy, Scarpulla, Shulman, JJ. 


Ind No. 2799/17 Appeal No. 13270 Case No. 2019-1992 

[*1]The People of the State of New York, Respondent,
vJames Moore, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Shaina R. Watrous of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Jennifer Westphal of counsel), for respondent.



Judgment, Supreme Court, New York County (Neil E. Ross, J.), rendered January 8, 2019, convicting defendant, after a jury trial, of robbery in the third degree and three counts of grand larceny in the fourth degree, and sentencing him, as a second felony offender, to an aggregate term of 3½ to 7 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentences to time served, and otherwise affirmed.
The verdict was not against the weight of the evidence (People v Danielson, 9 NY3d 342, 349 [2007]). The evidence supports the inference that defendant intended to use force to accomplish the theft of the victim's wallet, including an effort to forcibly retain the wallet after taking it (see generally People v Gordon, 23 NY3d 643, 650 [2014]). The testimony of the victim and a surveillance video showed that defendant leaned into or pushed the victim causing him to fall, took his wallet, and then shook his cane at the victim and engaged in a shoving match when the victim confronted him about the theft.
We find that the sentence warrants reduction in the interest of justice to the extent indicated. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 4, 2021








